

Matter of Verdugo v Sharpe (2022 NY Slip Op 06884)





Matter of Verdugo v Sharpe


2022 NY Slip Op 06884


Decided on December 06, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 06, 2022

Before: Kern, J.P., Friedman, Gesmer, González, Mendez, JJ. 


Index No. 500137/09 Appeal No. 16936 Case No. 2022-03785 

[*1]In the Matter of Fatima Verdugo, Petitioner,
vHon. Carol Sharpe, Respondent. 


Seltzer Sussman Heitner LLP, Jericho (Brian R. Heitner of counsel), for petitioner.
Letitia James, Attorney General, New York (Amy Luo of counsel), for respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is granted to the extent that the hearing shall take place forthwith but no later than January 10, 2023.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 6, 2022








